Case 2:08-cr-20052-SHL Document 2 Filed 02/19/08 Pagelof6 PagelID7

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

Criminal No. OF. GOOG

)
)
)
)
) 18 U.S.C. § 922(g)
)
)
)
)
)

VS.

NARRINO STEWART 18 U.S.C. § 922(j)

a/kia MARRINO STEWART, 18 U.S.C. § 924(c)
a/lkia RAY MOORE, 18 U.S.C. § 2119
Defendant.
INDICTMENT RECEIVED
THE GRAND JURY CHARGES: FEB 19 2008
United States Distnet Cour
COUNT ONE Western Tennessee

On or about December 17, 2007 in the Western District of Tennessee, the
defendant,

NARRINO STEWART
a/kia MARRINO STEWART-—
alkia RAY MOORE

 

 

 

 

 

 

did, with the intent to cause death and serious bodily injury, take a motor vehicle that had
been transported, shipped, and received in interstate commerce, that is a Ford 250 Truck,
from the person and presence of another by force, violence, and intimidation, in violation

of Title 18, United States Code, Section 2119.
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COUNT TWO

On or about December 17, 2007, in the Western District of Tennessee, the

defendant,

 

NARRINO STEWART
alkia MARRINO STEWART----
alkia RAY MOORE

 

 

 

 

 

during and in relation to a crime of violence, that is, “Carjacking” in violation of Title 18,
United States Code, Section 2119, knowingly use and carry a firearm; in violation of Title

18, United States Code, Section 924(c).
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COUNT THREE

On or about December 20, 2007, in the Western District of Tennessee, the
defendant,

NARRINO STEWART

a/kia MARRINO STEWART----
alkla RAY MOORE

 

 

 

 

 

 

having previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, did knowingly possess in and affecting interstate commerce a firearm,
that is a Spingfield Armory XD 40 caliber semi automatic pistol, in violation of Title 18,

United States Code, Section 922(g).
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COUNT FOUR
On or about December 20, 2007, in the Western District of Tennessee, the

defendant,

 

 

NARRINO STEWART
a/kfa MARRINO STEWART----
alkia RAY MOORE

 

 

 

 

did possess a stolen firearm, that is a Springfield Armory XD 40 caliber semiautomatic
pistol which had been shipped or transported in interstate commerce, knowing and having
reasonable cause to believe the firearm was stolen, in violation of Title 18 United States

code, Sections 922(j).
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COUNT FIVE
On or about December 20, 2007 in the Western District of Tennessee, the
defendant,
NARRINO STEWART
a/lkia MARRINO STEWART----
a/lkia RAY MOORE

did, with the intent to cause death and serious bodily injury, take a motor vehicle that had
been transported, shipped, and received in interstate commerce, that is a Saturn Vue
automobile, from the person and presence of another by force, violence, and intimidation,

in violation of Title 18, United States Code, Section 2119.
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COUNT SIX
On or about December 20, 2007, in the Western District of Tennessee, the

defendant,

 

 

NARRINO STEWART
alkia MARRINO STEWART---—
alkia RAY MOORE

 

 

 

 

during and in relation to a crime of violence, that is, “Carjacking” in violation of Title 18,
United States Code, Section 2119, knowingly use and carry a firearm; in violation of Title

18, United States Code, Section 924(c).

A TRUE BILL:
s/Grand Jury Foreperson
aac Se A

 

DATE: LeA (m Jose -FQREPERSON

GWUCT

UNITED STATES ATTORNEY

 
